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                                       HEARING DATE AND TIME: OCTOBER 31, 2024 AT 10:30 A.M. (ET)
                                                        OBJECTION DEADLINE: OCTOBER 25, 2024

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X
In re:                                                         Chapter 11
                                                               Lead Case No.: 24-44027 (ESS)
ONE EDGE MARINA FINANCE                                        Jointly Administered
COMPANY LLC, et al.,
                                                               RELATED DOC. NO. 23
                  Debtors.
------------------------------------------------------    X

       OBBP RETAIL OWNER, LLC'S LIMITED OBJECTION AND RESERVATION OF
     RIGHTS TO THE DEBTORS' MOTION FOR AN ORDER: (I) AUTHORIZING THE
    PRIVATE SALE OF SUBSTANTIALLY ALL OF THE ASSETS OF DEBTORS ONE15
    BROOKLYN MARINA, LLC, ONE15 RESTAURANT LLC AND ONE15 BROOKLYN
    SAIL CLUB LLC TO RADCLIFF MANAGEMENT LLC FREE AND CLEAR OF ALL
     LIENS CLAIMS AND ENCUMBRANCES, (II) AUTHORIZING THE ASSUMPTION
       AND ASSIGNMENT OF CERTAIN UNEXPIRED LEASES AND EXECUTORY
      CONTRACTS, (III) APPROVING DEBTOR IN POSSESSION FINANCING FROM
      PURCHASER PENDING CLOSING, AND (IV) SEEKING ENTRY OF AN ORDER
                SCHEDULING HEARING ON SHORTENED NOTICE

         OBBP Retail Owner, LLC ("OBBP"), as predecessor-in-interest, 360 Brooklyn Investors

LLC, by and through undersigned counsel, hereby files this limited objection and reservation of

rights (the "Objection") to the Selling Debtors1 motion for an order (i) authorizing the private

sale of substantially all of the Selling Debtors’ assets to Radcliff Management LLC, or its

assignee or designee (“Purchaser”), free and clear of any and all liens, claims, encumbrances

and interests and approving the Asset Purchase Agreement, by and between the Selling Debtors

and the Purchaser, dated October 17, 2024 (“APA”) in connection therewith; and (ii) authorizing

the assumption and assignment of the Selling Debtors’ unexpired leases and license agreement

(collectively, the “Leases”) to Purchaser; (iii) approving debtor-in-possession financing pending

closing on the APA, and (iv) entering an Order scheduling a hearing to consider the relief sought

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 The Selling Debtors are ONE15 Brooklyn Marina, LLC (“Marina”), ONE15 Restaurant LLC (“Restaurant”) and
One15 Brooklyn Sail Club, LLC (“Sail Club” and together with Marina and Restaurant, the “Selling Debtors”),
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herein on shortened notice (the "Sale Motion") [ECF No. 23]. In support of the Objection,

OBBP states as follows:

                                         BACKGROUND

       1.      On August 20, 2024, OBBP filed a Verified Petition in New York Civil Court,

Kings County against debtor One15 Restaurant LLC seeking, inter alia, possession of the

premises with the issuance of a warrant to remove. In Re: OBBP Retail Owner, LLC v. One15

Restaurant LLC d/b/a Estuary at One15 Brooklyn Marina a/d/b/a Estuary Brasserie & Bar a/d/b/a

Ebb & Flow, Case No. LT-326262-24/KI (the "State Crt. Action").

       2.      On September 26, 2024 (the “Petition Date”), the Selling Debtors, together with

their affiliate and sole member, One Edge Marina Finance Company LLC (“One Edge” and

together with the Selling Debtors, the “Debtors”) each filed a voluntary petition for relief under

Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Eastern

District of New York (the “Chapter 11 Cases”).

       3.      OBBP is a creditor of the Restaurant Debtor based on its ownership of the

commercial condominium unit Commercial Units #1 and #7, in the Condominium, said Premises

also being known as 159 Bridge Park Drive, Brooklyn, New York 11201 and its Restaurant Lease (as

defined below) with Restaurant Debtor.

       4.      On October 18, 2024, the Debtors filed the Sale Motion seeking, inter alia, the

private sale of substantially all of the Selling Debtors’ assets to purchaser Radcliff Management

LLC, or its assignee or designee (“Purchaser”), and the assumption and assignment of the

unexpired lease between 360 Brooklyn Investors LLC, as landlord and One15 Restaurant LLC,

as tenant, March 1, 2016 (the “Restaurant Lease”). As discussed below, the Sale Motion

provides, in relevant part, that if the Purchaser and OBBP cannot reach agreement on going

forward lease terms, the Purchaser would not acquire the restaurant assets. The Purchaser and
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OBBP are engaged in good faith discussions regarding the terms of a new or modified lease, but,

as of the date hereof, no definitive agreement has been reached. Accordingly, OBBP has filed

this limited objection and reservation of rights to protect its interests and claim.

                                     LIMITED OBJECTION

       5.      Under 11 U.S.C. § 365(b), Debtors are required to cure any default in connection

with a contract to be assumed and assigned. The Debtors have estimated the cure amount under

the Restaurant Lease at $234,000 which is lower than the actual cure amount of $305,905.26,

including post-petition rent amounts. OBBP reserves all of its rights to a cure payment in the

amount reflected above in addition to other rights to adequate assurance of future performance, a

suitable replacement guaranty and a "market" security deposit.

       6.      As reflected in FN 2 of the Sale Motion, the ". . .the APA provides that the

assumption of the Restaurant Lease is conditioned upon the Purchaser negotiating an acceptable

amendment to such lease that provides for, inter alia, an extension on the remaining term. In the

event that an amendment is not secured, the Purchaser may elect not to purchase the Restaurant

Assets and the Restaurant Lease would not be assumed. . . "

       7.      OBBP and the Purchaser are in negotiations for the assumption and assignment of

the Restaurant Lease. If the negotiations fail, OBBP will assert its unsecured and administrative

claim in their full amount. To the extent the Purchaser and OBBP cannot negotiate an acceptable

amendment to the lease, OBBP requests language in the sale order: (i) memorializing that the

Debtors' interest in the lease is deemed automatically rejected; (ii) directing the Debtors to vacate

the Premises within five (5) business days from entry of the Sale Order; and (iii) vacating the

automatic stay to authorize OBBP to pursue its state court remedies in the State Crt. Action.
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                                 RESERVATION OF RIGHTS

       8.      OBBP reserves its right to amend and/or supplement this objection to assert and

claim any additional amounts that may be due under the APA and to assert any further and

additional objections to the Debtors' proposed assumption and assignment to the extent

appropriate

                                         CONCLUSION

       WHERFORE, OBBP respectfully request entry of an order (i) conditioning the

assumption of the APA upon the cure of all monetary defaults thereunder; and (ii) granting such

other and further relief as the Court deems just and proper.

Dated: New York, New York
       October 25, 2024
                                              AKERMAN LLP

                                              By:    /s/Mark S. Lichtenstein
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